10/19/23, 4:05 PM          Case MDL No. 3089 Electronic
                                              Document         195-5
                                                        Case Filing         Filed
                                                                    | U.S. District   10/19/23
                                                                                    Court               Page
                                                                                          - Middle District        1 of 28
                                                                                                            of Florida

                                                    U.S. District Court
                                           Middle District of Florida (Tampa)
                                 CIVIL DOCKET FOR CASE #: 8:23-cv-02226-VMC-AEP


 Rampalli v. Publix Super Markets, Inc.                                                  Date Filed: 10/02/2023
 Assigned to: Judge Virginia M. Hernandez Covington                                      Jury Demand: Plaintiff
 Referred to: Magistrate Judge Anthony E. Porcelli                                       Nature of Suit: 190 Contract: Other
 Cause: 28:1332 Diversity-Other Contract                                                 Jurisdiction: Diversity
 Plaintiff
 Krystal Rampalli                                                         represented by Blake G. Abbott
 Individually and on Behalf of All Others Similarly                                      Poulin, Willey, Anastopoulo, LLC
 Situated                                                                                32 Ann Street
                                                                                         Charleston, SC 29403
                                                                                         843-614-8888
                                                                                         Email: blake.abbott@poulinwilley.com
                                                                                         PRO HAC VICE
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Paul J. Doolittle
                                                                                         Ness, Motley, Loadholt, Richardson & Poole
                                                                                         P.O. Box 1137
                                                                                         Charleston, SC 29402
                                                                                         803/720-9000
                                                                                         Email: paul.doolittle@poulinwilley.com
                                                                                         PRO HAC VICE
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         R. Jason Richards
                                                                                         Aylstock, Witkin, Kreis & Overholtz, PLLC
                                                                                         17 E Main St Ste 200
                                                                                         Pensacola, FL 32502-5998
                                                                                         850/916-7450
                                                                                         Fax: 850-916-7449
                                                                                         Email: jrichards@awkolaw.com
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Roy T. Willey , IV
                                                                                         Anastopoulo Law Firm
                                                                                         32 Ann Street
                                                                                         Charleston, SC 29403
                                                                                         843-614-8888
                                                                                         Email: roy@akimlawfirm.com
                                                                                         PRO HAC VICE
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Bryan Frederick Aylstock
                                                                                         Aylstock, Witkin, Kreis & Overholtz, PLLC
                                                                                         17 E Main St Ste 200
                                                                                         Pensacola, FL 32502-5998
                                                                                         850/916-7450 Ext 36
                                                                                         Fax: 850/916-7449
                                                                                         Email: baylstock@awkolaw.com
                                                                                         ATTORNEY TO BE NOTICED


 V.
 Defendant
 Publix Super Markets, Inc.


  Date Filed          #   Docket Text


https://ecf.flmd.uscourts.gov/cgi-bin/DktRpt.pl?143348971956683-L_1_0-1                                                               1/2
10/19/23, 4:05 PM          Case MDL No. 3089 Electronic
                                             Document          195-5
                                                        Case Filing         Filed
                                                                    | U.S. District   10/19/23
                                                                                    Court               Page
                                                                                          - Middle District        2 of 28
                                                                                                            of Florida

  10/18/2023         10 NOTICE of Local Rule 3.03, which requires each party to file a disclosure statement. Counsel must make their
                        disclosures using the standard court form. The Disclosure Statement form can be found at www.flmd.uscourts.gov.
                        (Signed by Deputy Clerk). (MEJ) (Entered: 10/18/2023)
  10/18/2023          9 NOTICE of Local Rule 1.07(c), which requires lead counsel to promptly file a Notice of a Related Action that
                        identifies and describes any related action pending in the Middle District or elsewhere. (Signed by Deputy Clerk).
                        (MEJ) (Entered: 10/18/2023)
  10/18/2023          8 NOTICE informing the parties that they may consent to the jurisdiction of a United States magistrate judge by filing
                        Form AO 85 Notice, Consent, and Reference of a Civil Action to a Magistrate Judge using the event Consent to
                        Jurisdiction of US Magistrate Judge. (Signed by Deputy Clerk). (MEJ) (Entered: 10/18/2023)
  10/18/2023          7 ENDORSED ORDER: The Court is aware of the notice entered in this case, explaining that Local Rule
                        3.02(a)(2) requires the filing of a uniform case management report with forty or seventy days, depending on
                        the circumstances of the case. However, under Local Rule 1.01(b), a judge can modify or suspend for all or
                        part of an action the application of any rule, except Rule 1.05(a). This Court finds it beneficial to enter a fast-
                        track scheduling order in certain categories of cases before entry of a case management and scheduling order.
                        Additionally, in cases that are not fast-tracked, this Court finds it efficient to have the parties confer and file
                        case management reports within 14 days after the defendant's responsive pleading is due or within 14 days
                        after a case is removed to this Court. In light of this, the Court hereby suspends Local Rule 3.02(a)(2) in this
                        case. At a time the Court deems appropriate, the Court will enter a further order in this case setting either a
                        deadline to file a completed uniform case management report or various fast-track deadlines for the case.
                        Signed by Judge Virginia M. Hernandez Covington on 10/18/2023. (MEJ) (Entered: 10/18/2023)
  10/18/2023          6 NOTICE of Local Rule 3.02(a)(2), which requires the parties in every civil proceeding, except those described in
                        subsection (d), to file a case management report (CMR) using the uniform form at www.flmd.uscourts.gov. The
                        CMR must be filed (1) within forty days after any defendant appears in an action originating in this court, (2) within
                        forty days after the docketing of an action removed or transferred to this court, or (3) within seventy days after
                        service on the United States attorney in an action against the United States, its agencies or employees. Judges may
                        have a special CMR form for certain types of cases. These forms can be found at www.flmd.uscourts.gov under the
                        Forms tab for each judge. (Signed by Deputy Clerk). (MEJ) (Entered: 10/18/2023)
  10/04/2023          5 SUMMONS issued as to Publix Super Markets, Inc.. (EAM) (Entered: 10/04/2023)
  10/04/2023          4 NOTICE TO COUNSEL Bryan F. Aylstock, R. Jason Richards, Roy T. Willey, Paul J. Doolittle, Blake G. Abbott of
                        Local Rule 2.02(a), which states, "The first paper filed on behalf of a party must designate only one lead counsel
                        who - unless the party changes the designation - remains lead counsel throughout the action." Counsel must file a
                        Notice of Lead Counsel Designation identifying lead counsel. (Signed by Deputy Clerk). (EAM) (Entered:
                        10/04/2023)
  10/04/2023          3 NOTICE TO COUNSEL Roy T. Willey, Paul J. Doolittle, Blake G. Abbott Local Rule 2.01(c), Special Admission of
                        Non-Resident Lawyer - File a Motion to Appear Pro Hac Vice. Co-counsel with filing rights may electronically file
                        the motion on behalf of the non-resident lawyer or the motion may be filed on paper; Pay the Special Admission
                        Fee; Submit a Pro Hac Vice E-File Registration through PACER. Visit www.flmd.uscourts.gov/for-lawyers for
                        details (Signed by Deputy Clerk). (EAM) (Entered: 10/04/2023)
  10/02/2023          2 NEW CASE ASSIGNED to Judge Virginia M. Hernandez Covington and Magistrate Judge Anthony E. Porcelli.
                        New case number: 8:23-cv-02226-VMC-AEP. (AM) (Entered: 10/02/2023)
  10/02/2023          1 COMPLAINT against Publix Super Markets, Inc. with Jury Demand (Filing fee $402 receipt number AFLMDC-
                        21310673) filed by Krystal Rampalli. (Attachments: # 1 Civil Cover Sheet, # 2 Summons-Publix Super Markets,
                        Inc.)(Aylstock, Bryan) Modified on 10/4/2023 to edit docket text (EAM). (Entered: 10/02/2023)



                                                                  PACER Service Center
                                                                       Transaction Receipt
                                                                          10/19/2023 16:05:28
                                              PACER
                                                              pauldoolittle    Client Code:
                                              Login:
                                                              Docket           Search           8:23-cv-02226-VMC-
                                              Description:
                                                              Report           Criteria:        AEP
                                              Billable Pages: 3                Cost:            0.30




https://ecf.flmd.uscourts.gov/cgi-bin/DktRpt.pl?143348971956683-L_1_0-1                                                                          2/2
         Case
           Case
              8:23-cv-02226
                 MDL No. 3089Document
                               Document
                                      1 195-5
                                        Filed 10/02/23
                                               Filed 10/19/23
                                                        Page 1 Page
                                                               of 26 3PageID
                                                                       of 28 1




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

Krystal Rampalli, Individually and on
Behalf of All Others Similarly Situated,

                                  Plaintiff,

                           v.                             Case No. 23-cv-2226

    Publix Super Markets, Inc.,                           CLASS ACTION COMPLAINT

                                  Defendant.              JURY TRIAL DEMANDED




                                   CLASS ACTION COMPLAINT

          Plaintiff Krystal Rampalli ("Plaintiff"), on behalf of herself and all others similarly

situated, files this Class Action Complaint ("CAC") against Defendant Publix Super Markets, Inc.

("Defendant" or "Publix") and in support states the following.

                                       NATURE OF THE SUIT

          1.     This is a class action lawsuit by Plaintiff on behalf of herself and all others similarly

situated who purchased Defendant's tablet style phenylephrine medicine, "Publix Daytime, Cold

& Flu Relief, Multi-Symptom, Softgels" branded products, containing phenylephrine,

("Medicine", or "Drugs") 1, that were manufactured, marketed, labeled, distributed, and sold by

Defendant. The above-described group of persons who purchased Defendant's Drugs are to be

referred to as the Putative Class hereinafter.




1
 https://www.publix.com/pd/publix-daytime-cold-and-flu-relief-multi-symptom-softgels/RIO-
PCI-138097?origin=search5
       Case
         Case
            8:23-cv-02226
               MDL No. 3089Document
                             Document
                                    1 195-5
                                      Filed 10/02/23
                                             Filed 10/19/23
                                                      Page 2 Page
                                                             of 26 4PageID
                                                                     of 28 2




        2.      These Drugs are designed to combat sinus issues, such as congestion, among other

things. Unfortunately, the Drugs do not. 2 In fact, the Drugs are ineffective according to a United

States Food & Drug Administration (“FDA”) advisory board panel, which is due to their active

ingredient being phenylephrine. 3

        3.      Medicines similar to these Drugs, containing phenylephrine, generated almost 2

billion in sales in 2022.4

        4.      Further: "According to the FDA review, 242 million packages or bottles of

phenylephrine products were sold in 2022, resulting in $1.76 billion in sales." 5

        5.      Plaintiff brings this action because of Defendant’s fraud, false marketing, false

advertising, breach of contract, breach of warranty, and breaches of state law consumer protection

statutes.

        6.      Defendant is a massive retailing business that often specializes in generic brand

medicine, that is comparable to other national brands, as documented in its corporate wordmark,

and website branding, and content, as seen below: "Pain reliever. Fever reducer. Cough

suppressant. Nasal decongestant. Compare to the active ingredients in Vicks DayQuil Cold & Flu




2
   https://www.cnn.com/2023/09/12/health/phenylephrine-tablets-ineffective-fda-panel-
says/index.html#:~:text=Phenylephrine%2C%20a%20popular%20ingredient%20in,and%20Drug
%20Administration%20agreed%20Tuesday
3
   Id. ; https://www.fda.gov/media/171917/download
4
   https://www.fiercepharma.com/pharma/its-unanimous-fda-panel-says-decongestant-drug-
phenylephrine-does-not-
work#:~:text=Products%20that%20include%20the%20ingredient,congestion%20when%20given
%20by%20mouth.
5
  https://www.medscape.com/viewarticle/996369#:~:text=The%20vote%20that%20formally%20
declared,and%20based%20on%20outdated%20technology.

                                                 2
          Case
            Case
               8:23-cv-02226
                  MDL No. 3089Document
                                Document
                                       1 195-5
                                         Filed 10/02/23
                                                Filed 10/19/23
                                                         Page 3 Page
                                                                of 26 5PageID
                                                                        of 28 3




(This product is not manufactured or distributed by the owner of the registered trademarks Vicks

DayQuil)." 6 Unfortunately, Defendant's provide and sell Drugs that do not work.

          7.    Through its own marketing, as demonstrated above, Defendant is seeking out

consumers who are vulnerable positions given their need for medicine related to nasal and sinus

issues.

          8.    Unfortunately, Defendant's "Daytime" branded Drugs, containing phenylephrine,

are ineffective as decongestants. 7

          9.    These Drugs, specifically those containing phenylephrine, were brought to market

as alternatives for other types of medicines that were prone to abuse by illicit drug producers, as

to create methamphetamine. 8

          10.   In fact, these Drugs took the shelf space of older, truly effective drugs. 9

                                 JURISDICTION AND VENUE

          11.   This Court possesses subject-matter jurisdiction to adjudicate the claims set forth

herein under the provisions of the Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d),

because (1) the matter in controversy exceeds the sum or value of $5,000,000, exclusive of interest

and costs, (2) the action is a class action, (3) there are members of the Class who are diverse from

Defendant, and (4) there are more than 100 class members.




6
  https://www.publix.com/pd/publix-daytime-cold-and-flu-relief-multi-symptom-softgels/RIO-
PCI-138097?origin=search5
7
  https://www.fda.gov/media/171971/download
8
  https://www.cbsnews.com/news/nasal-decongestant-phenylephrine-congestion-fda-
experts/#:~:text=A%202006%20law%20had%20forced,billion%20market%20for%20oral%20de
congestants.
9
  Id.

                                                   3
        Case
          Case
             8:23-cv-02226
                MDL No. 3089Document
                              Document
                                     1 195-5
                                       Filed 10/02/23
                                              Filed 10/19/23
                                                       Page 4 Page
                                                              of 26 6PageID
                                                                      of 28 4




        12.        This Court has personal jurisdiction over Defendant because they have their

principal place of business located in this judicial district or are registered to do business within

this district.

        13.        Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because

Defendant is headquartered in this district, transacts business in this district, is subject to personal

jurisdiction in this district, and therefore is deemed to be a citizen of this district.

        14.        Given that Defendant’s headquarters are located within this district, the design,

approval, and distribution process of the Drugs occurred or originated within this District.

Additionally, Defendant has advertised in this district and has received substantial revenue and

profits from its sales of Drugs in this district; therefore, a substantial part of the events and/or

omissions giving rise to the claims occurred, in part, within this district.

                                               PARTIES

              A.          Plaintiff

        15.        Plaintiff is a resident of Columbia, South Carolina which is located within Richland

County, S.C.

        16.        From October 2022-April 2023, Plaintiff purchased Defendant’s Drugs from a

Publix store located at 2800 Rosewood Dr, Columbia, SC 29205.

        17.        Unfortunately, Plaintiff was suffering from nasal issues/congestion and purchased

Drugs produced by Defendant to treat such nasal and sinus issues.

        18.        Plaintiff used Defendant's Drugs but to no relief.

        19.        Plaintiff, along with many others, has spent countless dollars on these Drugs while

expecting to be relieved of sinus pain but to no avail.

              B.          Defendant




                                                    4
       Case
         Case
            8:23-cv-02226
               MDL No. 3089Document
                             Document
                                    1 195-5
                                      Filed 10/02/23
                                             Filed 10/19/23
                                                      Page 5 Page
                                                             of 26 7PageID
                                                                     of 28 5




       20.     Defendant is a Florida based corporation, with its principal place of business at:

3300 Publix Corporate Pkwy, Lakeland Florida 33811.

       21.     Defendant has repeatedly touted the effectiveness of the Drugs. 10

       22.     Defendant has profited largely off of the sale of these Drugs, with total revenue

from phenylephrine products totaling nearly 1.8 billion. 11

                                  FACTUAL ALLEGATIONS

       23.     Plaintiff purchased Defendant's Drugs from October 2022-April 2023.

       24.     Specifically, Plaintiff purchased Publix Daytime, Cold & Flu Relief, Multi-

Symptom, Softgels, containing phenylephrine. As demonstrated below:




10
   https://www.publix.com/pd/publix-daytime-cold-and-flu-relief-multi-symptom-softgels/RIO-
PCI-138097
11
   https://www.fda.gov/media/171971/download

                                                 5
       Case
         Case
            8:23-cv-02226
               MDL No. 3089Document
                             Document
                                    1 195-5
                                      Filed 10/02/23
                                             Filed 10/19/23
                                                      Page 6 Page
                                                             of 26 8PageID
                                                                     of 28 6




       25.     When Plaintiff took these Drugs, her nasal and sinus conditions were not improved,

and Plaintiff received no relief.

       26.     Plaintiff would not have purchased this Drug had she known of the truly ineffective

nature of Defendant’s Drugs.

       27.     Plaintiff was deprived of her benefit of the bargain and was monetarily harmed by

Defendant’s Drugs.




                                                6
       Case
         Case
            8:23-cv-02226
               MDL No. 3089Document
                             Document
                                    1 195-5
                                      Filed 10/02/23
                                             Filed 10/19/23
                                                      Page 7 Page
                                                             of 26 9PageID
                                                                     of 28 7




        28.     As documented above, Defendant has a history of defrauding customers through

their deceptive medicinal sales and marketing practices. In 2015, similar drugs were noted to be

ineffective. 12 Instead of telling the truth, Defendant chose to keep touting the Drugs as effective.

        29.     Specifically, when put in tablet form, the phenylephrine is ineffective as a treatment

for sinus/nasal conditions. 13

        30.     In general, the human sinuses are an extensive system of airways and passages that

provide a number of functions for the human body. The main function of sinuses is to humidify

and purify the air that is breathed in by a human. 14

        31.     The human sinuses are prone to complications given the rapid change of inhaled

air temperatures and the contaminants inhaled from the outside world. 15

        32.     The sinuses are an extensive cavity system as well, and inflamed sinuses can cause

great pain throughout the human face and body. 16

        33.     The most relevant condition to the matter at hand here is sinus congestion. Sinus

congestion is painful and can cause breathing trouble. 17

        34.     To get relief from this condition, people take sinus medicines that help to relieve

congestion, such as Defendant's Drugs. 18



12
    https://www.law360.com/articles/727379/fda-urged-to-block-sales-of-otc-congestion-drug
13
    https://www.cbsnews.com/news/nasal-decongestant-phenylephrine-congestion-fda-experts/ ;
https://www.fda.gov/media/171917/download
14
    https://emedicine.medscape.com/article/1899145-
overview#:~:text=They%20are%20centered%20on%20the,the%20event%20of%20facial%20tra
uma.
15
    https://getcleared.com/blog/barometric-pressure-and-sinuses
16
   https://www.medicalnewstoday.com/articles/322108#:~:text=The%20pressure%20and%20pain
%20of,problems%20or%20even%20neck%20pain.
17
    https://www.mountsinai.org/health-library/diseases-
conditions/sinusitis#:~:text=That%20extra%20mucus%20can%20block,you've%20got%20chron
ic%20sinusitis.
18
    https://www.webmd.com/drugs/2/drug-54384/sinus-tablet-oral/details

                                                  7
       Case
        Case8:23-cv-02226
              MDL No. 3089Document
                           Document1 195-5
                                      Filed 10/02/23
                                             Filed 10/19/23
                                                       Page 8Page
                                                              of 2610
                                                                    PageID
                                                                      of 28 8




       35.     For    decades,   consumers    bought    and    ingested   medicines    containing

psuedophedrine. 19

       36.     In detail: "The agency approved phenylephrine for over-the-counter use in the

1970s, but it became even more common after 2005, when legislation restricted access to OTC

drugs that use a similar decongestant ingredient called pseudoephedrine." 20

       37.     As best stated: "Phenylephrine gained popularity in the early 2000s as a

replacement for pseudoephedrine, the decongestant used in Sudafed, which was moved behind the

pharmacy counter in 2006 in an attempt to curb its misuse as an ingredient to make

methamphetamine." 21

       38.     Psuedophedrine was, and is, an effective medicine for relieving congestion.22

Unfortunately, the psuedophedrine drugs were taken off of shelves, and moved behind the

pharmacy counter, because illicit drug manufacturers were using the medicines to create

methamphetamine. 23

       39.     Once taken off the shelves, psuedophedrine had its place taken by the current Drugs

at hand, the phenylephrine-based drugs. 24




19
   https://www.pbs.org/newshour/health/popular-nasal-decongestant-doesnt-actually-relieve-
congestion-fda-advisers-
say#:~:text=Like%20many%20other%20over%2Dthe,own%20regulations%20on%20drug%20e
ffectiveness.
20
   https://www.cnn.com/2023/09/12/health/phenylephrine-tablets-ineffective-fda-panel-
says/index.html
21
   https://www.nbcnews.com/health/health-news/fda-panel-says-common-counter-decongestant-
phneylephrine-doesnt-work-rcna104424
22
   https://pubmed.ncbi.nlm.nih.gov/15794071/
23
   https://www.nbcnews.com/health/health-news/fda-panel-says-common-counter-decongestant-
phneylephrine-doesnt-work-rcna104424
24
   https://news.yahoo.com/fda-panel-says-common-over-171404910.html

                                                8
       Case
        Case8:23-cv-02226
              MDL No. 3089Document
                           Document1 195-5
                                      Filed 10/02/23
                                             Filed 10/19/23
                                                       Page 9Page
                                                              of 2611
                                                                    PageID
                                                                      of 28 9




       40.     For over 15 years, this Drug has been ineffective. 25

       41.     As stated best below: “But eight years is long enough to wait, you know what I

mean? That's millions and millions of dollars wasted on ineffective drugs." 26

       42.     Once phenylephrine was forced on the shelves, and the psuedophederine removed

and put behind the counter, consumers had two choices. The first choice is to buy phenylepherine

based products as they would normally do, on the shelves; or consumers could opt to wait in a

pharmacy line, often long and full of other likely sick individuals who wanted effective

psuedophederine based products.

       43.     As one does when sick, many consumers, including Plaintiff, opted for the

phenylepherine based products. The consumers opted for these Drugs specifically because the

Drugs were marketed as safe and effective and were readily accessible.

       44.     Unfortunately, the Drugs did not, and do not, work. The entire basis for consumers

choosing these Drugs was a facade.

       45.     In general, the Drugs do not work because, in sum, the active ingredients do not

survive the human stomach conditions and never reach the bloodstream: "Why is oral

phenylephrine so useless? It is extensively metabolized, starting in the gut wall. You can find a

bioavailability figure of 38% in the literature, but that appears to be the most optimistic number

possible, and you can also find studies that show 1% or less." 27 In sum, the Drugs do not actually

survive the stomach, and thus do not reach the bloodstream in the nose.




25
   https://www.theverge.com/2023/9/13/23871534/fda-panel-phenylephrine-ineffective-cold-
medication-allergy ; https://pubmed.ncbi.nlm.nih.gov/17692721/.
26
   https://www.cbsnews.com/news/fda-decongestant-phenylephrine-criticized-as-useless/.
27
   https://www.science.org/content/blog-post/uselessness-
phenylephrinehttps://www.medscape.com/viewarticle/996369#:~:text=The%20vote%20that%20
formally%20declared,and%20based%20on%20outdated%20technology.

                                                 9
     Case
       Case
          8:23-cv-02226
             MDL No. 3089
                        Document
                          Document
                                 1 Filed
                                   195-510/02/23
                                          Filed 10/19/23
                                                  Page 10Page
                                                          of 2612
                                                                PageID
                                                                  of 28 10




       46.     The Drugs reaching of the nasal bloodstream is critical, as phenylephrine is:

"thought to relieve congestion by reducing the swelling of blood vessels in the nasal passages." 28

       47.     Further, in reference to the FDA Panel's opinion: "The panel’s vote reflects

damning evidence provided by the FDA that found that when phenylephrine is taken orally, a very

small amount of the drug actually reaches the nose to relieve congestion." 29

       48.     And, as stated earlier, this ineffectiveness has been known for years. 30

       49.     As best summarized by the following quote: "This drug and this oral dose should

have been removed from the market a long time ago... The patient community requires and

deserves medications that treat their symptoms safely and effectively and I don’t believe that this

medication does." 31

       50.     Essentially, Defendant, along with many other manufacturers, have produced a

Drug that is marketed as being safe, effective, and helpful for society due to its lack of use in the

methamphetamine production system, but instead, the Drugs are ineffective wastes of time,

money, and energy.




28
   https://www.ktvh.com/decongestant-pills-like-dayquil-and-sudafed-don-t-work-fda-panel-
says#:~:text=Phenylephrine%20has%20been%20thought%20to,the%20nose%20to%20relieve%
20congestion.
29
   https://www.nbcnews.com/health/health-news/fda-panel-says-common-counter-decongestant-
phneylephrine-doesnt-work-rcna104424
30
   https://www.usatoday.com/story/news/health/2023/09/12/fda-says-phenylephrine-
decongestant-doesnt-
work/70832405007/#:~:text=The%20same%20researchers%20also%20challenged,a%20benefit
%20for%20the%20drug.
31
   https://www.nbcnews.com/health/health-news/fda-panel-says-common-counter-decongestant-
phneylephrine-doesnt-work-rcna104424.

                                                 10
      Case
        Case
           8:23-cv-02226
              MDL No. 3089
                         Document
                           Document
                                  1 Filed
                                    195-510/02/23
                                           Filed 10/19/23
                                                   Page 11Page
                                                           of 2613
                                                                 PageID
                                                                   of 28 11




        51.     In addition to wasting time and money, these drugs have negative side effects such

as: "Mild upset stomach, trouble sleeping, dizziness, lightheadedness, headache, nervousness,

shaking, or fast heartbeat." 32

        52.     In all, these Drugs are ineffective and unsafe. These Drugs are fraudulently

marketed, as being safe and effective, even though the Drugs ineffective nature has been known

for over a decade.

        53.     In addition to the lack of effectiveness, the Drugs are ripe with side effects that can

harm its users. The Drugs themselves, due to their ineffectiveness, can and will cause users to

suffer longer than necessary. Prolonged sinus issues can cause long term, incurable sinus

problems. 33

                                     CLASS ALLEGATIONS

        54.     Plaintiff brings this action on behalf of herself, and all others similarly situated

pursuant to Rule 23(a) and Rule 23 (b)(3) of the Federal Rules of Civil Procedure. Plaintiff seeks

class certification on behalf of the class defined as follows ("the Nationwide Class").


        Nationwide Class: All persons in the United States who purchased Drugs sold by
        Defendant from 2020 to the Present.

        55.     Excluded from the Class are any Defendants, any parent companies, subsidiaries,

and/or affiliates, officers, directors, legal representatives, employees, co-conspirators, all

governmental entities, and any judge, justice or judicial officer presiding over this matter.




32
   https://www.webmd.com/drugs/2/drug-21821/phenylephrine-
oral/details#:~:text=Mild%20upset%20stomach%2C%20trouble%20sleeping,causing%20them%
20to%20feel%20cold.
33
   https://www.kaplansinusrelief.com/blog/dangers-chronic-untreated-sinusitis-complications/

                                                  11
     Case
       Case
          8:23-cv-02226
             MDL No. 3089
                        Document
                          Document
                                 1 Filed
                                   195-510/02/23
                                          Filed 10/19/23
                                                  Page 12Page
                                                          of 2614
                                                                PageID
                                                                  of 28 12




       56.      The Nationwide Class shall be referred to as the "Class". Proposed Members of said

Class will be referred to as "Class Members", or otherwise referenced as "members of the Class".

       57.      Numerosity: The members of the Class are so numerous that joinder of all

members of the Class is impracticable. Plaintiff is informed and believes that the proposed Class

contains thousands of purchasers who have been damaged by Defendant’s conduct as alleged

herein. The precise number of Class Members is unknown to Plaintiff at this time.

       58.      Typicality: Plaintiff’s claims are typical to those of all Class Members because

members of the Class are similarly injured through Defendant’s uniform misconduct described

above and were subject to Defendant’s deceptive claims. Plaintiff is advancing the same claims

and legal theories on behalf of herself and all members of the Class.

       59.      Commonality: Plaintiff’s claims raise questions of law and fact common to all

members of the Class, and they predominate over any questions affecting only individual Class

Members. The claims of Plaintiff and all prospective Class Members involve the same alleged

defect. These common legal and factual questions include the following:

             a. Whether Defendant’s Drugs are defective and/or inoperable;

             b. Whether Defendant owed a duty of care to Plaintiff and the Class;

             c. Whether Defendant knew or should have known that the Drugs were defective

                and/or inoperable;

             d. Whether Defendant wrongfully represent, and continue to represent, that their

                Drugs are operable, thus granting sinus/nasal condition relief;

             e. Whether Defendant's omissions are true, or are misleading, or objectively

                reasonably likely to deceive;

             f. Whether the alleged conduct constitutes violations of the laws asserted;




                                                 12
      Case
        Case
           8:23-cv-02226
              MDL No. 3089
                         Document
                           Document
                                  1 Filed
                                    195-510/02/23
                                           Filed 10/19/23
                                                   Page 13Page
                                                           of 2615
                                                                 PageID
                                                                   of 28 13




              g. Whether Defendant’s allege conduct violates public policy;

              h. Whether Defendant’s representations in advertising, warranties, packaging, and

                 labeling are false, deceptive, and misleading;

              i. Whether those representations are likely to deceive a reasonable consumer;

              j. Whether a reasonable consumer would consider the risk of the Drugs not

                 working;

              k. Whether Defendant was unjustly enriched as a result of its marketing, advertising,

                 and sale of the Drugs;

              l. Whether Defendant breached their express warranties;

              m. Whether Defendant breached their implied warranties;

              n. Whether certification of any or all of the classes proposed herein is appropriate

                 under Fed. R. Civ. P. 23;

              o. Whether Plaintiff and the Class Members are entitled to damages and/or

                 restitution and the proper measure of that loss; and

              p. Whether an injunction is necessary to prevent Defendant from continuing to

                 market and sell the Drugs.

        60.      Adequacy: Plaintiff and her counsel will fairly and adequately protect and

represent the interests of each member of the Class. Plaintiff has retained counsel experienced in

complex litigation and class actions. Plaintiff’s counsel has successfully litigated other class action

cases similar to that here and has the resources and abilities to fully litigate and protect the interests

of the Class. Plaintiff intends to prosecute this claim vigorously. Plaintiff has no adverse or

antagonistic interests to those of the Class, nor is Plaintiff subject to any unique defenses.




                                                   13
     Case
       Case
          8:23-cv-02226
             MDL No. 3089
                        Document
                          Document
                                 1 Filed
                                   195-510/02/23
                                          Filed 10/19/23
                                                  Page 14Page
                                                          of 2616
                                                                PageID
                                                                  of 28 14




          61.   Superiority: A class action is superior to the other available methods for a fair and

efficient adjudication of this controversy. The damages or other financial detriment suffered by

Plaintiff and the individual Class Members is relatively small compared to the burden and expense

that would be entailed by individual litigation of their claims against Defendants. It would thus be

virtually impossible for Plaintiff and Class Members, on an individual basis, to obtain meaningful

and effective redress for the wrongs done to them. Further, it is desirable to concentrate the

litigation of the Class Members’ claims in one forum, as it will conserve party and judicial

resources and facilitate the consistency of adjudications. Plaintiff knows of no difficulty that would

be encountered in the management of this case that would preclude its maintenance as a class

action.

          62.   The Class also may be certified because Defendant has acted or refused to act on

grounds applicable to the Class, thereby making appropriate final declaratory and/or injunctive

relief with respect to the members of the Class as a whole.

          63.   Plaintiff seeks preliminary and permanent injunctive and equitable relief on behalf

of the entire Class, on grounds generally applicable to the entire Class, to enjoin and prevent

Defendant from engaging in the acts described above, such as continuing to market and sell Drugs

that may be defective. Further, Plaintiff seeks for Defendant to provide a full refund of the purchase

price of the Drugs to Plaintiff and the Class Members.

          64.   Unless a Class is certified, Defendant will retain monies received as a result of their

conduct that was taken from Plaintiff and the Class Members. Unless a Class-wide injunction is

issued, Defendant may continue to commit the violations alleged and the members of the Class

and the general public will continue to be misled and placed in harms’ way.

                                     CAUSES OF ACTION
                                   FIRST CAUSE OF ACTION


                                                  14
      Case
        Case
           8:23-cv-02226
              MDL No. 3089
                         Document
                           Document
                                  1 Filed
                                    195-510/02/23
                                           Filed 10/19/23
                                                   Page 15Page
                                                           of 2617
                                                                 PageID
                                                                   of 28 15




                                          Negligence
                              (On Behalf of Plaintiff and the Class)

        65.    Plaintiff incorporates Paragraphs 1-64 by reference as if fully set forth herein.

        66.    Defendant has a duty to provide operable Drugs to consumers.

        67.    Defendant breached this duty by designing, producing, marketing, and selling

inoperable Drugs.

        68.    Defendant’s breach of this duty to provide operable Drugs caused damages to

Plaintiff.

        69.    Plaintiff was damaged in that she lost her benefit of the bargain, has suffered

economic loss through the retention of her funds paid for Drugs, has suffered inconveniences due

to the constant denial of relief from sinus conditions.

        70.    Defendant’s actions caused these damages both factually and proximately.

        71.    But for Defendant’s design, production, marketing, and sale of inoperable Drugs,

Plaintiff and the Class would not have been damaged.

        72.    In addition, it is foreseeable that producing an inoperable or ineffective Drug would

cause damages as Plaintiff and the Class purchased the Drugs to be relieved of sinus congestion

and the ineffective Drugs would not grant Plaintiff and the Class their bargained for relief from

sinus/nasal conditions.

        73.    Due to Defendant’s conduct, Plaintiff was damaged by Defendant in that Plaintiff

has been deprived of her benefit of the bargain and loss of purchase price.

        74.    Plaintiff and the Class seek actual damages, attorneys’ fees, costs and any other just

and proper relief available thereunder for Defendant’s negligent failure to deliver the bargained

for Drugs.

                                SECOND CAUSE OF ACTION


                                                 15
     Case
       Case
          8:23-cv-02226
             MDL No. 3089
                        Document
                          Document
                                 1 Filed
                                   195-510/02/23
                                          Filed 10/19/23
                                                  Page 16Page
                                                          of 2618
                                                                PageID
                                                                  of 28 16




                                    Negligent Misrepresentation
                                (On Behalf of Plaintiff and the Class)

         75.   Plaintiff incorporates Paragraphs 1-64 by reference as if fully set forth herein.

         76.   Through their advertising and the course of their regular business, Defendant made

representations to Plaintiff and the Class concerning the function, operability, and validity of the

Drugs.

         77.   Defendant did not practice reasonable care in the above-mentioned design, creation,

production, sale, and marketing of the Drugs.

         78.   Defendant made these statements as to guide consumers, such as Plaintiff and the

Class, in the transactional process.

         79.   Defendant knew that such statements would be relied upon, the fact that

Defendant’s Drugs were operable and offered sinus/nasal condition relief, by Plaintiff and the

Class, given that the statements were the entire reasoning for the purchase of the Drugs.

         80.   Plaintiff and the Class would not have purchased the Drugs without such statements

and assertations put forth by Defendant.

         81.   Defendant intended that Plaintiff and the Class rely on the representations made by

Defendant regarding the Drugs.

         82.   Plaintiff reasonably relied upon such representations and omissions to her detriment

as she suffered damages.

         83.   By reason thereof, Plaintiff and Class Members have suffered damages in an

amount to be proven at trial.

         84.   Due to Defendant’s conduct, Plaintiff was damaged by Defendant in that Plaintiff

has been deprived of her benefit of the bargain and loss of purchase price.




                                                 16
     Case
       Case
          8:23-cv-02226
             MDL No. 3089
                        Document
                          Document
                                 1 Filed
                                   195-510/02/23
                                          Filed 10/19/23
                                                  Page 17Page
                                                          of 2619
                                                                PageID
                                                                  of 28 17




       85.     Plaintiff and the Class seek actual damages, attorneys’ fees, costs and any other just

and proper relief available thereunder for Defendant’s negligent misrepresentation of the Drugs.

                                 THIRD CAUSE OF ACTION
                                     Unjust Enrichment
                              (On Behalf of Plaintiff and the Class)

       86.     Plaintiff incorporates Paragraphs 1-64 by reference as if fully set forth herein.

       87.     Plaintiff and the Class bestowed benefits upon Defendant in the form of monies

that were paid in exchange for Defendant’s Drugs.

       88.     These benefits bestowed by Plaintiff were not a donation to Defendant as these

monies were given for the purchase of the Drugs.

       89.     As a result of Defendant’s wrongful and deceptive conduct alleged herein,

Defendant knowingly and voluntarily accepted and retained wrongful benefits in the form of

money paid by the Plaintiff and members of the Class when they purchased the Drugs.

       90.     In so doing, Defendant acted with conscious disregard for the rights of Plaintiff and

members of the Class.

       91.     Plaintiff and the Class paid for Drugs that were properly functioning, Drugs whose

sole function was providing/granting sinus/nasal condition relief. Instead, they received something

entirely different and relatively unusable.

       92.     As a result of Defendant’s wrongful conduct as alleged herein, Defendant has been

unjustly enriched at the expense of, and to the detriment of, Plaintiff and members of the Class.

       93.     Defendant’s unjust enrichment is traceable to, and resulted directly and proximately

from, the conduct alleged herein.

       94.     Under the common law doctrine of unjust enrichment, it is inequitable for

Defendant to be permitted to retain the benefits it received, and is still receiving, without



                                                17
      Case
        Case
           8:23-cv-02226
              MDL No. 3089
                         Document
                           Document
                                  1 Filed
                                    195-510/02/23
                                           Filed 10/19/23
                                                   Page 18Page
                                                           of 2620
                                                                 PageID
                                                                   of 28 18




justification, from the false and deceptive manufacturing, labeling, and marketing of the Drugs to

Plaintiff and members of the Class.

       95.     Defendant’s retention of such funds under circumstances making it inequitable to

do so, constitutes unjust enrichment.

       96.     The financial benefits derived by Defendant rightfully belong to Plaintiff and

members of the Class.

       97.     Given the above, the circumstances make Defendant’s retention of funds

inequitable, without reimbursement for the funds to Plaintiff and the Class.

       98.     Defendant should be compelled to disgorge in a common fund for the benefit of

Plaintiff and members of the Class all wrongful or inequitable proceeds received by them, plus

interest thereon.

       99.     Plaintiff and the Class seek actual damages, attorneys’ fees, costs and any other just

and proper relief available under the laws.

                               FOURTH CAUSE OF ACTION
                                Breach of Express Warranty
                             (On Behalf of Plaintiff and the Class)

       100.    Plaintiff incorporates Paragraphs 1-64 by reference as if fully set forth herein.

       101.    As detailed above, Defendant, through its advertising and marketing expressly

warranted that the Drugs were for the purposes intended, that they were of merchantable quality,

and that they actually provided sinus/nasal condition relief.

       102.    Moreover, the description for the Drugs represents the use of these Drugs serve to

provide, i.e. granting sinus/nasal condition relief. Such statements constitute an affirmative

promise that these Drugs will indeed provide sinus pressure relief.




                                                 18
     Case
       Case
          8:23-cv-02226
             MDL No. 3089
                        Document
                          Document
                                 1 Filed
                                   195-510/02/23
                                          Filed 10/19/23
                                                  Page 19Page
                                                          of 2621
                                                                PageID
                                                                  of 28 19




       103.    Defendant breached this express warranty by providing Drugs that were inoperable

and could not provide such promised relief. The Drugs, through whatever means, are inoperable.

       104.    Plaintiff and the other Class Members read and relied on these express warranties

provided by Defendant in the description of the product and subsequent advertisements.

       105.    Defendant breached their express warranties because the Drugs at issue are

defective and unfit for their intended use.

       106.    Defendant’s breach of warranty proximately caused damages as it is foreseeable

that such defective Drugs, incapable of delivering on their warranties, would deprive Plaintiff of

her benefit of the bargain and monies paid for such Drugs.

       107.    Plaintiff and the other Class Members have suffered harm on account of

Defendant’s breach of its express warranty regarding the fitness for use of the Drugs and are

entitled to damages to be determined at trial.

       108.    Plaintiff and the Class seek actual damages, attorneys’ fees, costs and any other just

and proper relief thereunder for Defendant’s failure to deliver Drugs conforming to their express

warranties and resulting breach.

                               FIFTH CAUSE OF ACTION
              Breach of Implied Warranty of Fitness For A Particular Purpose
                           (On Behalf of Plaintiff and the Class)

       109.    Plaintiff incorporates Paragraphs 1-64 by reference as though fully set forth herein.

       110.    Defendant's Drugs were to be used as Drugs to provide sinus/nasal condition relief

in the context of getting relief from sinus pressure. Thus, Defendant's Drugs were of a particular

purpose.

       111.    Defendant knew of this particular purpose as Defendant produced, marketed, sold,

and advertised the Drugs as providing/granting sinus/nasal condition relief.



                                                 19
     Case
       Case
          8:23-cv-02226
             MDL No. 3089
                        Document
                          Document
                                 1 Filed
                                   195-510/02/23
                                          Filed 10/19/23
                                                  Page 20Page
                                                          of 2622
                                                                PageID
                                                                  of 28 20




       112.    Defendant knew that Plaintiff relied on this promise of particularity as Defendant

was aware of the assertations put forth regarding specificity and Plaintiff's required reliance on

such a product.

       113.    Plaintiff relied on Defendant's skill and capability to provide such a specific

product.

       114.    Due to Defendant's conduct, Plaintiff was damaged by Defendant in that Plaintiff

has been deprived of her benefit of the bargain and loss of purchase price.

       115.    Plaintiff and the Class seek actual damages, attorneys’ fees, costs and any other just

and proper relief available under the laws.

                                 SIXTH CAUSE OF ACTION
                         Breach of Implied Warranty of Merchantability
                              (On Behalf of Plaintiff and the Class)

       116.    Plaintiff incorporates Paragraphs 1-64 by reference as though fully set forth herein.

       117.    Defendant sold the Drugs to Plaintiff and other consumers.

       118.    Plaintiff is a person who is reasonably expected to use such Drugs, given that the

Drugs were sold to the public and Plaintiff is a consumer.

       119.    Defendant is a medical corporation providing medicines to consumers worldwide.

       120.    Defendant presented the Drugs as operable/effective drugs that granted access to

granting sinus/nasal condition relief for Plaintiff and other consumers.

       121.    The Drugs were not merchantable at the time of sale given that they did not provide

sinus/nasal condition relief, as marketed and promised by Defendant.

       122.    This lack of merchantability is a breach of warranty.

       123.    This breach both factually and proximately caused damages to Plaintiff through her

loss of funds and the deprivation of her benefit of the bargain.



                                                 20
      Case
        Case
           8:23-cv-02226
              MDL No. 3089
                         Document
                           Document
                                  1 Filed
                                    195-510/02/23
                                           Filed 10/19/23
                                                   Page 21Page
                                                           of 2623
                                                                 PageID
                                                                   of 28 21




       124.    Plaintiff and the Class seek actual damages, attorneys’ fees, costs and any other just

and proper relief available thereunder for Defendant’s failure to deliver goods conforming to their

implied warranties and resulting in breach.

                                 SEVENTH CAUSE OF ACTION
                                      Breach of Contract
                               (On Behalf of Plaintiff and the Class)

       125.    Plaintiff incorporates Paragraphs 1-64 as if fully set forth herein.

       126.    Through their marketing, advertisements, and promises, Defendant created a

contract with Plaintiff.

       127.    Specifically, Plaintiff was to receive granting sinus/nasal condition relief in

exchange for the purchase price of Defendant’s Drugs.

       128.    Plaintiff performed her obligation under the contract through her paid purchase

price of the Drugs.

       129.    Defendant failed to perform its obligation under the contract in that Defendant

failed to provide granting sinus/nasal condition relief as indicated in the Drugs.

       130.    Plaintiff and the Class have been damaged as a direct and proximate result of

Defendant’s breach.

       131.    Plaintiff and the Class seek actual damages, attorneys’ fees, costs and any other just

and proper relief available under the laws.

                                   EIGHTH CAUSE OF ACTION
                           Strict Product Liability for Misrepresentation
                                (On Behalf of Plaintiff and the Class)

       132.    Plaintiff incorporates Paragraphs 1-64 as if fully set forth herein.

       133.    Defendant was engaged in the business of selling sinus/nasal congestion relief pills.




                                                 21
        Case
          Case
             8:23-cv-02226
                MDL No. 3089
                           Document
                             Document
                                    1 Filed
                                      195-510/02/23
                                             Filed 10/19/23
                                                     Page 22Page
                                                             of 2624
                                                                   PageID
                                                                     of 28 22




         134.   Defendant misrepresented the material fact that its Drugs provided sinus/nasal

condition relief to those who purchased such Drugs.

         135.   This fact is material because it is the entire nature of the Drugs themselves and

Plaintiff would not have purchased the Drugs had she known of the true nature of the Drugs.

         136.   Defendant’s misrepresentations were made to the public at large and potential

consumers through Defendant’s advertising and marketing.

         137.   Plaintiff was and is a person who reasonably expected to use the Drugs as marketed

by Defendant. This reasonability is based upon the fact that Plaintiff is a consuming member of

the public who purchased the Drugs relying on Defendant’s marketing.

         138.   It is reasonably foreseeably that Plaintiff would be harmed by Defendant's

misrepresentation.

         139.   Plaintiff suffered damages due to Defendant’s misrepresentation.

         140.   Due to Defendant’s conduct, Plaintiff was damaged by Defendant in that Plaintiff

has been deprived of her benefit of the bargain and loss of purchase price that she may never get

back.

         141.   Plaintiff and the Class seek actual damages, attorneys’ fees, costs and any other just

and proper relief available under the laws.

                                   NINTH CAUSE OF ACTION
                                               Fraud
                                (On Behalf of Plaintiff and the Class)

         142.   Plaintiff incorporates Paragraphs 1-64 as if fully set forth herein.

         143.   Defendant made a fraudulent misrepresentation of material fact in that Defendant

marketed, sold, and promised Plaintiff a Drug that would provide sinus/nasal condition relief.




                                                  22
      Case
        Case
           8:23-cv-02226
              MDL No. 3089
                         Document
                           Document
                                  1 Filed
                                    195-510/02/23
                                           Filed 10/19/23
                                                   Page 23Page
                                                           of 2625
                                                                 PageID
                                                                   of 28 23




         144.   This fact of the Drugs providing/granting sinus/nasal condition relief is material as

that was the entire purpose of the Drugs and without such a promise, Plaintiff would not have

purchased the Drugs.

         145.   Had Plaintiff known of the true inoperable and defective nature of the Drugs,

Plaintiff would not have purchased the Drugs.

         146.   Plaintiff relied on Defendant’s misrepresentation in her purchase of the Drugs.

         147.   Plaintiff was justified in relying on this misrepresentation as the true nature of the

Drugs was not known to Plaintiff and Defendant promised a Drug that would provide sinus/nasal

condition relief.

         148.   Plaintiff has suffered damages as a direct and proximate result of this justification

as Plaintiff has lost out on her benefit of the bargain, lost funds stemming from her purchase price,

has suffered emotional duress, and has been greatly inconvenienced by Defendant’s inoperable

Drugs.

         149.   Plaintiff and the Class seek actual damages, attorneys’ fees, costs and any other just

and proper relief available under the laws.

                                   TENTH CAUSE OF ACTION
                                   Fraudulent Misrepresentation
                                (On Behalf of Plaintiff and the Class)

         150.   Plaintiff incorporates Paragraphs 1-64 by reference as if fully set forth herein.

         151.   Defendant made a fraudulent misrepresentation of material fact in that Defendant

stated that the Drugs would provide sinus/nasal condition relief.

         152.   These Drugs did not provide sinus/nasal condition relief and this assertion of

granting sinus/nasal condition relief was the entire basis for Plaintiff's purchase.




                                                 23
         Case
           Case
              8:23-cv-02226
                 MDL No. 3089
                            Document
                              Document
                                     1 Filed
                                       195-510/02/23
                                              Filed 10/19/23
                                                      Page 24Page
                                                              of 2626
                                                                    PageID
                                                                      of 28 24




          153.   Plaintiff relied on the above misrepresentation as the promise of granting

sinus/nasal condition relief was the entire reason for her purchase of the Drugs.

          154.   Plaintiff was justified in relying upon the above misrepresentation that Defendant's

Drugs would provide granting sinus/nasal condition relief.

          155.   Plaintiff's reliance resulted in damages as Plaintiff would not have purchased, thus

losing the money related to such purchase, the Drugs.

          156.   As a direct and proximate cause of Defendant’s conduct, Plaintiff was damaged by

Defendant in that Plaintiff has been deprived of her benefit of the bargain and loss of purchase

price.

          157.   Plaintiff and the Class seek actual damages, attorneys’ fees, costs and any other just

and proper relief available under the laws.

                                        PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, on behalf of herself and all others similarly situated, prays for

judgement against Defendant as to each and every count, including:

             A. An order declaring this action to be a proper class action, appointing Plaintiff and

                 her counsel to represent the Class, and requiring Defendant to bear the costs of

                 class notice;

             B. An order enjoining Defendant from selling the Drugs;

             C. An order enjoining Defendant from suggesting or implying that the Drugs are

                 effective for their intended purpose of granting sinus/nasal condition relief;

             D. An order requiring Defendant to engage in a corrective advertising campaign and

                 engage in any further necessary affirmative injunctive relief;




                                                  24
Case
  Case
     8:23-cv-02226
        MDL No. 3089
                   Document
                     Document
                            1 Filed
                              195-510/02/23
                                     Filed 10/19/23
                                             Page 25Page
                                                     of 2627
                                                           PageID
                                                             of 28 25




     E. An order awarding declaratory relief and any further retrospective or prospective

         injunctive relief permitted by law or equity, including enjoining Defendant from

         continuing the unlawful practices alleged herein, and injunctive relief to remedy

         Defendant’s past conduct;

     F. An order requiring Defendant to pay restitution/damages to restore all funds

         acquired by means of any act or practice declared by this Court to be an unlawful,

         unfair, or fraudulent business act or practice, plus pre- and post-judgment interest

         thereon;

     G. An order requiring Defendant to disgorge any ill-gotten benefits received from

         Plaintiff and members of the Class as a result of any wrongful or unlawful act or

         practice;

     H. An order requiring Defendant to pay all actual and statutory damages permitted

         under the counts alleged herein;

     I. An order awarding attorneys’ fees and costs to Plaintiff and Class; and

     J. An order providing for all other such equitable relief as may be just and proper.

                           DEMAND FOR JURY TRIAL

 Plaintiff demands a trial by jury on all issues so triable.




                         [Signatures to Follow on Next Page]




                                            25
     Case
       Case
          8:23-cv-02226
             MDL No. 3089
                        Document
                          Document
                                 1 Filed
                                   195-510/02/23
                                          Filed 10/19/23
                                                  Page 26Page
                                                          of 2628
                                                                PageID
                                                                  of 28 26




Dated: October 2, 2023              Respectfully Submitted,


                                    /s/ Bryan F. Aylstock
                                    Bryan F. Aylstock (FL Bar # 0078263)
                                    R. Jason Richards (FL Bar # 18207)
                                    AYLSTOCK, WITKIN,
                                    KREIS, & OVERHOLTZ, PLLC
                                    17 E. Main Street, Suite 200
                                    Pensacola, FL 32502
                                    Phone: (850) 202-1010
                                    Email: baylstock@awkolaw.com
                                            jrichards@awkolaw.com


                                    -AND-


                                    Roy T. Willey, IV (Pro Hac Vice Forthcoming)
                                    Paul J. Doolittle (Pro Hac Vice Forthcoming)
                                    Blake G. Abbott (Pro Hac Vice Forthcoming)
                                    POULIN | WILLEY
                                    ANASTOPOULO, LLC
                                    32 Ann Street
                                    Charleston, SC 29403
                                    Tel: (803) 222-2222
                                    Email: roy.willey@poulinwilley.com
                                            paul.doolittle@poulinwilley.com
                                            blake.abbott@poulinwilley.com
                                            cmad@poulinwilley.com




                                      26
